                 4:16-bk-16358 Doc#: 253 Filed: 08/15/22 Entered: 08/15/22 15:56:43 Page 1 of 3

Fill in this information to identify the case:


Debtor 1              Frederick L Harris, Sr.

Debtor 2
(Spouse, if filing)   Adrienne R Harris


United States Bankruptcy Court for the:                Eastern District of Arkansas

Case number           4:16-bk-16358



Official Form 4100R
Response to Notice of Final Cure Payment                                                                                                                10/15
According to Bankruptcy Rule 3002.1 (g), the creditor responds to the trustee’s notice of final cure payment.

Part 1:          Mortgage Information

Name of Creditor:                               PennyMac Loan Services, LLC                                               Court claim no. (if known):
Last 4 digits of any number you use to identify the debtor account:                    XXXXXX9530                                       16
Property address:                               720 Belaire,
                                                Number         Street



                                                Benton, AR 72015
                                                City              State    Zip Code



Part 2:          Prepetition Default Payments

Check one:


           Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
           on the creditor’s claim.


           Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
           on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
           of this response is:                                                                                                          $



Part 3:          Postpetition Mortgage Payment

Check one:


          Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
          the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
           The next postpetition payment from the debtor(s) is due on: 09/01/2022
                                                                               MM DD YYYY

          Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
          of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
          Creditor assets that the total amount remaining unpaid as of the date of this response is:

          a.     Total postpetition ongoing payments due:                                                                            (a) $
          b.     Total fees, charges, expenses, escrow, and costs outstanding:                                                      + (b) $
          c.     Total. Add lines a and b.                                                                                           (c) $
         Creditor asserts that the debtor(s) are contractually
         obligated for the postpetition payment(s) that first became
         due on:
                                                                               MM DD YYYY



Official Form 4100R                                           Response to Notice of Final Cure Payment                                            Page 1
             4:16-bk-16358 Doc#: 253 Filed: 08/15/22 Entered: 08/15/22 15:56:43 Page 2 of 3



Debtor 1        Frederick L Harris, Sr.                                             Case Number (if known)      4:16-bk-16358




Part 4:      Itemized Payment History

    If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
    debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
    the creditor must attach an itemized payment history disclosing the following amounts from the date of the
    bankruptcy filing through the date of this response:

         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




Part 5:       Sign Here

The person completing this Notice must sign it. The response must be filed as a supplement to the creditor’s
proof of claim.

Check the appropriate box:
    I am the creditor.
    I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
From the notice address listed on the proof of claim to which this response applies.




  /s/ Heather Martin-Herron                                                      Date         8/15/2022
  Signature

                         Kate Lachowsky-Khan, Heather Martin-Herron, Joel W. Giddens. & Alexandra Bradley
Print:                                                                                                                      Title   Attorneys


Company                  Wilson & Associates, PLLC
                         400 West Capitol Avenue
Address                  Suite 1400
                         Little Rock, AR 72201


Contact phone            (501) 219-9388              Email     klachowsky | hmartin-herron | jgiddens | abradley@thewilsonlawfirm.com




Official Form 4100R                                     Response to Notice of Final Cure Payment                                                Page 2
           4:16-bk-16358 Doc#: 253 Filed: 08/15/22 Entered: 08/15/22 15:56:43 Page 3 of 3



                                                       CERTIFICATE OF SERVICE
                         8/15/2022
           On _____________________,      a copy of the foregoing Response to Notice of Final Cure was served electronically through the
electronic case filing system (ECF) upon:

         Matthew David Mentgen                                             Joyce Bradley Babin
         Attorney at Law                                                   Trustee
         PO Box 164439                                                     P.O. Box 8064
         Little Rock, AR 72216                                             Little Rock, AR 72203-8064

         and served via U.S. mail upon:

         Frederick L Harris, Sr., and Adrienne R Harris
         Debtor(s)
         720 Belaire
         Benton, AR 72015
                                                                        /s/ Heather Martin-Herron
                                                                        Heather Martin-Herron (2011136)
                                                                        Kathryn Lachowsky-Khan (2012039)
                                                                        Joel W. Giddens (2018203)
                                                                        Alexandra Bradley (TN034703)
 W&A No. 318958




Official Form 4100R                              Response to Notice of Final Cure Payment                                             Page 3
